Case 2:21-cv-04569-JAK-KS                  Document 44 Filed 10/11/23                    Page 1 of 1 Page ID
                                                 #:343
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                                 CASE NUMBER:


UNITED STATES OF AMERICA                                            2:21−cv−04569−JAK−KS
                                                 Plaintiff(s),

         v.
REAL PROPERTY LOCATED IN MALIBU,
CALIFORNIA                                                          NOTICE TO FILER OF DEFICIENCIES IN
                                               Defendant(s).
                                                                    ELECTRONICALLY FILED DOCUMENT




PLEASE TAKE NOTICE:

The following problem(s) have been found with your filed document:

Date Filed:         10/3/2023
Document No.:             42
Title of Document: Certificate of identity theft judicial finding of factual innocence filed
by claimant Melvin Huges Louis
ERROR(S) WITH DOCUMENT:

This case is closed.




Other:

Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
         document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
         response to this notice unless and until the Court directs you to do so.


                                                      Clerk, U.S. District Court

Dated: October 11, 2023                               By: /s/ Yvette Louis yvette_louis@cacd.uscourts.gov
                                                         Deputy Clerk

cc: Assigned District Judge and/or Magistrate Judge

    Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

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